         Case 4:18-cr-00014-BMM Document 82 Filed 08/02/18 Page 1 of 2

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                             UNITED STATES DISTRICT COURT
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                                                District ofMontana                           AUG 022018
                                                                                           Clerl<. U_S DiSIIid Court
                                                                                             District Of Montana
         UNITEDSTATESOFAME~CA                                                                    Great Falls

                            v                                Case No: CR lS-14-GF-BMM

           STANLEY PAT~CK WEBER
                SUBPOENA TO TESTIFY AT A BBAlUNG OR TRIAL IN A CIUMlNAL CASE


To:      James R1lIII1ing Cmne




         YOU ARK COMMANDED 10 appear in this United States dis1rict court at lbe time, date, end place shown
below 10 te$tify in this criminal case. When you arrive, you must remain at !be court until tbe judge or 8 court
officer allows you to leave.

                                                            C_mNo.,
       Missouri River Courthouse                             Charles N. Pray Courtroom,.      or
       IlS Cenlral Avenue West
                                                            D.'" IUId Time:
       Great Falls, MT 59404
                                                            Monday, August 6, 20 18. @ '.1:00_


         You must also bring with )IOU the following documents, electronillldl;o     infonnadoa. or oijeo:u (/Jkmk
i/llolopplictlble):

         UPON RECEIPT OF TBIS SUBPOENA, please contact VktiJn Witness Coord!n...... Keri I..egett at
(406) 771-1005 or toll free (8811) 3Z6-Z8!14.




Date: July 16. 2018                                       CLERK OF COURT: Tyler P. Gilman

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          Case 4:18-cr-00014-BMM Document 82 Filed 08/02/18 Page 2 of 2




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    Ca•• No. CR 18-14-GF-BMM
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